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                                                                     UNITED STATES DISTRICT COURT
                                                                     MIDDLE DISTRICT OF FLORIDA
     DONIA GOINES,
                                                                      Case Not 2117-CV-00656-JES-CM
                            Plaintiff,
     v.


     LEE MEMORIAL HEALTH SYSTEM
     d/b/a  CAPE CORAL HOSPITAL,
     and   JEOVANNI HECHAVARRIA, RN,
                            Defendants.
                                                                 /



                                          DECLARATION OF FRED HYDE, M.D.
             1.         My name          is   Fred Hyde. For the past 40 years         I   have been a hospital executive, a

 professor of hospital management, and an independent consultant specializing in hospital and

 health services.           My resume is attached to his declaration as Exhibit SAD.
             2.         I   was retained by t_he Plaintiff to provide expert opinions in this ease related to LEE

 MEMORIAL HEALTH SYSTEM management, policies, procedures, oversight, and adherence to
 hospital         standards      and nonns, in regards to                 LEE MEMORIAL HEALTH SYSTEMIs
 investigation, response            and actions involving the           JEOVANNI HECHAVARRIA                      sexual assaults,

 which took place between March 2015 and July 2016.

             3.         I   was deposed by the Defendant on September                       20, 2018.    However,        alter   my
 deposition,        I   was provided with approximately 2,200 pages of sexual                           assault investigative

 materials for the five (5) years preceding the sexual assaults at issue in this cased

             4.         I   have since reviewed and analyzed              all   records and documents produced by             LEE
 MEMORIAL HEALTH SYSTEM                                involving the investigations of prior sexual assaults against

 patients.



 I
     The aforementioned records were           not produced to the Plaintiff by the Defendant prior to the time   of my deposition.
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           5.              Including the Brianna     Hammer assault and the DONIA GOINES-                  rape, there   were

   sixteen (16) sexual assault incidents that have been identified               by the Defendant since 2012.

           6.              As you      will see in   my   Declaration and     my summary          of past sexual assault

  documents,          it    is   my   opinion that   LEE MEMORIAL HEALTH SYSTEM                        had a deliberate

  indifference to the rights and safety ofpatients with regard to being sexually assaulted                       by hospital

  staff.


           7.              Based upon     my   review, as well as     my   experience, education, background, and

  training,     LEE MEMORIAL HEALTH SYSTEM                          failed to protect the safety    and well-being of its

  patients, routinely failed to adhere to its             own   policies   and procedures, and routinely showed a

  systemic policy and culture ofdisbelieving patients when they articulated allegations that a health-

  care provider sexual assaulted them.                    LEE MEMORIAL HEALTH SYSTEM,s                            deliberate

  indifference to the rights and safety of its patients allowed for future sexual assaults to occur and

  created an environment where employees committing acts of sexual assault felt protected from

  punishment.

           8.              In    each and every sexual assault allegation produced to the           Plaintiff,   Defendant

  LEE MEMORIAL HEALTH SYSTEM failed to conduct a Root Cause Analysis (RCA).                                       (See Past

  Sexual Assault Investigation Summary, attached hereto as Exhibit GBV).                               A    sexual assault

  allegation     is    deemed a -lNever Eventn or           -lSentinel Eventai   by the organizations         that accredit


  hospitals.     A         thorough investigation or Root Cause Analysis               is   required for each and every

  uSentinel Eventfi

           9.              The    accreditation standards promulgated by         The    Joint   Commission and by Der

  Norske Verims (DNV) are based upon the Conditions of Participation (CoP)                                  for Hospitals,


  published by the Centers for Medicare and Medicaid Services (CMS), part ofthe U.S. Department




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      of Health       84   Human    Services.         The Conditions of Participation were contained            in   the legislation

      authorizing the creation ofthe Medicare program, in 1965, and have been updated regularly since

      that time.       Accreditation organizations contract with the Centers for Medicare and Medicaid

      Services to          show   that hospitals           meeting their accreditation standards will be deemed to be             in


      compliance with the Conditions of Participation.                           Failure to     meet the requirements of the

      Conditions of Participation will                    make any hospital   ineligible to   be paid for services by Medicare,

      Medicaid, and almost              all   commercial health insurance plans.

                10.         I   include reference below to both Det Norske Veritas (which has accredited                       LEE
   MEMORIAL HEALTH SYSTEM                                     since 2011) and     The   Joint   Commission (which formerly

   accredited         LEE MEMORIAL HEALTH SYSTEM)                              for three (3) reasons. First, the nstandard       of

   careii for       management of a              hospital     would include reference    to statute, regulation, accreditation


   and professional guidelines,                  at   a   minimum. Second,      DNV accredits      less   than ten (IOVJ) percent

   ofU.S. hospitalsg The Joint Commission accredits approximately ninety (9096) percent. Third, the

   authority of both              The    Joint    Commission and        DNV     stem from the same source, namely             their


   contracts with           CMS to demonstrate the compliance of accredited hospitals with the Conditions of
   Participation.


               ll.          The    Joint      Commission defines        Sentinel Event as        HA   patient safety event (not

   primarily related to the natural course of the patientis illness or underlying condition) that reaches

   a patient and results            in death,     pen-nanent harm, or severe temporary harm. Sentinel Events are a

   subcategory of adverse eventsfiz

               12.          Del Norske          Veritas defines a Sentinel Event as nan unexpected occurrence or

   variation that led to death or serious physical or psychological harm. This definition includes




  2
      The   Joint   Commission Hospital Accreditation Standards, 2016

                                                                        3
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       inever or adverse events, that are errors in medical care that are clearly identifiable, preventable

   and serious        in their   consequences for patientsfd Neither The Joint Commission nor Der Narske

       Veritas themselves conduct investigations of sexual assault or                            any other -tNeveru or uSentine1

   Eventfi Rather, they set standards for hospitals to use                         in   conducting such investigations, which

   standards have been routinely violated by                  LEE MEMORIAL HEALTH SYSTEM,                          for example,

   in reporting the results              of an investigation        (as in the case        of Brianna Hammer) prior       to the


   completion ofthe in-house uinvestigationfi

               13.      The      tem-1   nNever Events, was introduced by the National Quality Forum                    in   2001

   and     refers to Madverse events that are            unambiguous           (clearly identifiable   and measurable), serious

   (resulting in death or significant disability),                and usually preventablefw The 29 userious reportable

   eventsn are grouped into seven (7) categories, one of which                              is   uCriminal eventsfi Under this

   category      is   the specific ttNever Eventu of ttSexual abuse/assault on a patient within or                       on the

   grounds of a health care settingfs These events are termed itNever1l because, notwithstanding the

   volume of patients seen by a hospital, the events should -inevern occur.

               14.      Both The Joint Commission and Del Norske Veritas standards require that hospitals

   ensure the safety of patients                in their care.6    This   is   based upon the Conditions of Participation,

   which indicate that MThe patient has the                right to receive care in a safe set-tingll       and uThe patient has

   the right to be free from             all   forms of abuse or harassmentfq This protection of patient safety                is


   achieved through quality and risk management                      activities,     which include      a thorough investigation


   ofadverse, Sentinel and Never Events, as well as proactive risk mitigation.



   I
       DNV Standard, Interpretive Guidelines and Surveyor Guidance for Hospitals, November 2013, Version 3.1
   I
       AHRQ Patient Safety Network Patient Safety Primer uNever Eventsjl Updated to August 201s
   5
       Ibid.
   6
       DNV Standard, Interpretive Guidelines and Surveyor Guidance for Hospitals, November 2013, Version 3.1, Section
   10, Patient  Centered Care, Hospital Accreditation Standards, Standard LD.O3.0l .01, The Joint Commission, 2013
   7
       Conditions ofParticipation for Hospitals. 5482.13, Patient Rights, January 3,2012

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               15.   The   Joint   Commission adopted a        fom-ial Sentinel   Event Policy    in   19963. This   is


   described as including Ha timely, thorough, and credible comprehensive systematic analysisg

   developing an action plan designed to implement improvements to reduce                 risk,   implementing the

   improvementsg and monitoring the effectiveness of those improvementsfg Root Cause Analysis

   is   a istructured method used to analyze serious adverse eventsil and gone of the most widely used
         4




   approaches to improving patient safetyflm In          fact,   according to The Joint Commission,         URCA     is


   the most     commonly used form ofcomprehensive             systematic analysis used by Joint Commission-

   accredited organizations to      comply with    this lSentinel   Eventj requirementfm The goal of RCA,

   according to The Joint Commission,        is   nto produce an action plan that identities the strategies the


   organization intends to implement to reduce the risk of similar events occurring in the futureiin

               16.   Det Norske     Veri/as standards call for a Quality    Management System which              Hshall


   ensure that corrective and preventive actions taken by the hospital are implemented, measured and

   monitoredw and that uadequate resources are allocated for measuring, assessing, improving, and

   sustaining the hospitalis performance and reducing risk to patientsfl              DNV    Surveyor Guidance

   specifically references HNonconforrnity Reports,              Root Cause Analysis, and corrective action

  plans/aclionsv as methods through which the organization can demonstrate processes, which

   identify, address   and document actions which Shave been effective and sustainedfl U With regard

  to    both adverse and Sentinel Events,   DNVJs Interpretive Guidelines indicate to surveyors that (The




  3
     USentinel Event Policies and Proceduresfl The Joint Commission, June 29, 2017.
  9  MRoot Cause Analysis in Health Carer Tools and Techniques, The Joint Commission. 2015.
  10
        AHRQ  Patient Safety Network Patient Safety Primer -iRoot Cause Analysisf Updated to August 2018.
  H HRoot Cause Analysis in Health Carei Tools and Techniques, The Joint Commission, Z015.
  11 1-Root
            Cause Analysis in Health Carez Tools and Techniques, The Joint Commission. 2015.
  11
        DNV Standard, Interpretive Guidelines and Surveyor Guidance for Hospitals, November 2013, Version 3.1,
  Section 3, Quality Management System.

                                                           5
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    organization should have collected and analyzed data...to demonstrate that these processes are

                                 14
   closely monitoredfl

                  I7.     In addition to Quality      Management            standards,   DNV   addresses the protection of

   patients in Section 4, tiSafety Risk          Managementfi These standards require that accredited hospitals

   uensure that a risk management system                  is    established that addresses patient safety as well as other

   safety risks that         may impact on patients,        staff or other visitors to the hospital), Notably, for these


   cases, the standards also specify that                 its    approach   to risk   assessment   tt
                                                                                                        is   proactive rather than

   reactivefli          The   Joint    Commission echoes         this sentiment, writing that   KHealth care organizations

   no longer have         to wait until after a Sentinel          Event occurs to perform a root cause analysisfils

                  I8.    DNVIs standards related to Safety Risk Management are extensive and address risk

   assessment, management, and reporting.                       Among the requirements are that the hospital            must have

   tsdocumented procedures to define, record, analyze and learn from incidents that impact safety.

   This shall include medical errors and adverse patient eventsfi                                  In addition to Hsuitable

   methodologies for assessing and recording risksf DNV calls for management staffto monitor                                 tithe


   effectiveness ofthe controls being applied to reduce or eliminate the hazards identified in the risk

   assessment processfin

                  I9.    There    is   no evidence that   LEE MEMORIAL HEALTH SYSTEM met the standards
   of investigation, corrective action, monitoring and documentation put forth by                              DNV or The Joint
   Commission           in    response to the I6 allegations of sexual assault.                     As one example, LEE

   MEMORIAL HEALTH SYSTEM reported to Floridals Agency for Health Care Administration


   M Ibid
   I5
        DNVStandard, Interpretive Guidelines and Surveyor Guidance for Hospitals, November 2013, Version 3.1,
   Section 4, Safely Risk Management.
   M nRoot Cause Analysis in Health Carez Tools and Techniquesf The Joint Commission, 2015.
   II
        0p cit.

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   (AHCA),      less than     24 hours    after   an allegation, that they had conducted an investigation and found

   no evidence          to support the patientis claims, yet the           accused had not been interviewed by the

   detective,     and they     (LMHS) had not interviewed the          accusedls colleagues,         To meet the standards

   of DNV or The Joint Commission, an investigation must be thorough and credible. In multiple

   instances,     it    appears that the goal of the organization was not to reduce risk to patients but to

   exonerate      its   employees and thereby protect the            institution.   This    is   further evidenced         by    LEE
   MEMORIAL HEALTH SYSTEM,s failure to provide AHCA with full and accurate information
   when    reporting adverse incidents, including multiple prior accusations against an accused

   employee. The            full   exhibit of   my   notes from an examination of these cases will be found as

   Exhibit HEW          to this Declaration.


            20.          In addition to inadequate investigations             of Sentinel Events,         LEE MEMORIAL
   HEALTH SYSTEM                    failed to     meet the standard of proactively mitigating                  risk to patients.


   Transferring high-risk employees to the day shih, for example, or assigning a male nurse only

   male   patients,      were missed opportunities        for the organization to actively protect             its   patients.


            21.          The defensive,         rather than proactive, nature of       LEE MEMORIAL HEALTH
   SYSTEMls            responses to allegations of sexual abuse or assault by staff is further illustrated by the

   numerous times the organization                cites the patientis desire not to   pursue his or her accusations as

   suppon   for    LEE MEMORIAL HEALTH SYSTEMis                            inaction. This    would appear to be            in direct


  contradiction to Floridals Statutes regarding Hospital Licensing and Regulation, 5 395.1046,

  complaint investigation proceduresz HThe agency                    may   investigate, or continue to investigate,              and

   may take appropriate            tinal action   on a complaint, even though the original complainant withdraws

  his or her complaint or otherwise indicates his or her desire not to cause                        it   to   be investigated to




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   C0mpl6tiOl1.nl3        This highlights the fact that the goals of the Agency                       (AHCA)       - -    a thorough

   investigation, transparency,           and protection of the patient     - -   and those of the health system             - -   rapid

   resolution, opacity         and the protection ofthe employee          - -   do not appear to be aligned.

             22.        LEE MEMORIAL HEALTH SYSTEMS                             failed to   conduct a Root Cause Analysis

   in all   16 allegations ofsexual assault.

             23.        A Root Cause Analysis differs from a general                investigation into the claim.            A Root
   Cause Analysis         is   a process for identifying the basis or causal factors underlying variation                             in


   perfomiance. Variation           in   performance can (and otten does) produce unexpected and undesired

  adverse outcomes, including the occurrence or risk                  ofa       (Sentinel        Eventf Root Cause Analysis

  often provides answers regarding               how    or   why an   adverse incident occurred and                  is   directed at

  correcting the variation in performance to prevent future adverse incidents.

             24.        LEE MEMORIAL HEALTH SYSTEM                         staff    and     risk   managers had a practice of

  disbelieving patients          when    allegations   of sexual assault were         raised.       This pattern of accepting

  employee representations, and disbelieving                  patient complaints,           is   shown   in   a   summary of        the

  sexual assault investigative materials along with observations from the documents. (See Exhibit

  UBU, Past Sexual Assault Investigation Summary.)

             25.        The    materials, interviews,    and discussions summarized                in this exhibit   show that the

  hospital staffroutinely had a           custom ofdisbelieving the patient making the accusation.

             26.        For example, the sexual assault documents show that hospital staffoiien concluded

  thatz


                   a,   The    patient   ngave a confiicting          when the conflicting
                                                                storyil                                   portions were minor
                        and inconsequential      to   the events (2013-GCMC-JM)g




  ls
       The 2016 Florida        Stale Slalules, Chapter 395, Hospital Licensing and Regulation, 395.1046, Complaint
  investigation procedures.


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              The    patient    was not
                                 credible because she had made similar allegations in the past
              even though the hospital did not have any proof that prior allegations had been
              made     (Id.)g


              The    patient   was a Hliarn after she advised them that a male CNA forced her to give
              him    oral   sex (2013-GCMC-JM)g

              That the patient was umanipulativei, (2013-GCMC-JM)g

              There was no nconclusive evidence           that   would   validate the allegation of sexual
              assault),     (2013-GCMC-MR)g

              The accused was being    set-up by the patient for blackmail purposes even though
              the accused later admitted to the sexual contact (2013-GCMC-MW)g

              The accused was being truthful because he ubroke           down into tears and emphatically
              denied any wrongdoingn (Z014-CCH-HT)g

              The  patient was (knot crediblen because she reportedly had another complaint
              against a different hospital (ZOI4-CCH-HT)g

              The accused admitted to making several inappropriate statements but the            ninlehIiOn
              was different than what was perceivedu (2014-CCH-HT)g

              The  patient was inconsistent in her story based on minor issues that were
              inconsequential to the event (2014-GCMC-DD)g

              The patient was nmorally unfit and untrustworthyu even though the accuser later
              admitted to having sex with the patient (2014-LMH-DW)g

              The accused employee was being honest regarding the sex being consensual and he
              was more Hcredibleu because he came clean to risk management (2014-LMH-DW)g

              The    patient    was not   believable because she   was a Baker Act   patient   (20l4-LMH-
              JK)g

              The patientis story was nmixedii even though this was the third time that this
              employee had been accused of being sexually inappropriate with a patient (2015-
              GCMC-JW)g and
              The  patient was not believable because she was inconsistent with the number of
              fingers the employee stuck in her vagina and the location of her panties during the
              second assault (Brianna Hammer).




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                27.            Often,   LEE MEMORIAL HEALTH SYSTEM used language such as uunfoundedii
    or uunsubstantiatedii               when documenting                its    conclusions.             The   hospital used these terms in a

    majority of the cases and often advised the Department of Health that the claims were

    unsubstantiated, even before a thorough investigation occurred.

                28.            ln   one investigation, the           risk     manager of the            hospital and the system investigator

    told an accused             employed     thatz   i5We donit lpayl                  - -    even when these complaints are valid        - -   we
    donit payfl           (2013-GCMC-MWOOOI              I9).         This clearly gives the impression that such actions will

    not be punished or taken seriously by the hospital system.                                          The extent   to   which the organization

    will   go    to protect the           employee      is   further illustrated                    by the    failure     of HECI-lAVARRIAls

    supervisor to take any action whatsoever upon his report to her that he had been arrested for assault

    and    battery.           In fact, in his deposition, Hechavarria describes her response as Hemotional                                      and

    concerned.        .   .   .she tried to console me.      .   .    .it   was   a rough         moment      for mefllg

              29.             ln the aforementioned case                (2013-GCMC-MW),                    the accused admitted to touching

   a patientis genitals sexually and the employee was allowed to resign as opposed to being

   terminated. This                would give   the impression to others within the hospital system that such actions


   were not seriously pursued and discipline would be                                        lenient.


              30.             ln    another case (2014-CCH-HT), the accused was disciplined because he

   previously had two (2) other written sanctions against him but he was told he was not being

   disciplined for the sexual assault claims.                               The employee was not                 tired    and did not face any

   discipline for the sexual assault claim                   and was not required to undergo any additional training or

   supervision.




   lg
        Deposition ofleovanni Hechavarria, June 12 2018, pg. 81.

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